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                      IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MASSACHUSETTS

JANSSEN BIOTECH, INC. and
NEW YORK UNIVERSITY

                             Plaintiffs,
                                                         Civil Action No. 1:16-cv-11117
                      v.

CELLTRION HEALTHCARE CO., LTD.,
CELLTRION, INC., and
HOSPIRA, INC.

                             Defendants.

    DEFENDANTS’ MOTION IN LIMINE NO. 6: TO PRECLUDE JANSSEN FROM
    OFFERING EVIDENCE AND ARGUMENT REGARDING THE SAFE-HARBOR
                    PROVISION OF 35 U.S.C. 271(E)(1)

       Pursuant to Federal Rules of Evidence 401-403, Defendants Celltrion Healthcare Co.,

Ltd., Celltrion, Inc., and Hospira, Inc. (collectively, “Defendants”) respectfully move the Court

to preclude evidence and argument related to the “safe harbor” provision of 35 U.S.C. 271(e)(1).

Janssen’s arguments and evidence regarding Section 271(e)(1), including the testimony of

Janssen expert Mr. Richard Lit regarding Section 271(e)(1), should be excluded because they are

speculative and misapply the law, rendering them irrelevant, misleading, and unduly prejudicial.

       WHEREFORE, Defendants respectfully request this Court grant Defendants’ motion in

limine and exclude Janssen’s argument related to 35 U.S.C. 271(e)(1).

                               REQUEST FOR ORAL ARGUMENT

       Defendants believe oral argument may assist the Court and therefore request oral

argument on the motion during the scheduled June 11, 2018 hearing. Dkt. 176.
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Dated: May 18, 2018                Respectfully submitted,

                                   Celltrion Healthcare Co., Ltd., Celltrion, Inc.,
                                   and Hospira, Inc.

                                   By their attorneys,

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                                 LR 7.1(a)(2) CERTIFICATION

        I, Andrea L. Martin, hereby certify that Defendants’ counsel has conferred with

Plaintiff’s counsel and attempted in good faith to resolve or narrow the issue raised in this

motion. No agreement has been reached. Plaintiff has asserted that it will oppose this motion.

                                                 /s/ Andrea L. Martin, Esq.
                                                 Andrea L. Martin, Esq.


                                 CERTIFICATE OF SERVICE

        I, Andrea L. Martin, hereby certify that this document filed through the ECF system will

be sent electronically to the registered participants as identified on the Notice of Electronic Filing

(NEF) and paper copies will be sent to those indicated as non-registered participants on May 4,

2018.


                                               /s/Andrea L. Martin, Esq.
                                               Andrea L. Martin, Esq.




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